Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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| United States Bankruptcy Court for the:
|

EASTERN DISTRICT OF NEW YORK

Case number (if known) — Chapter 7

0 Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name New York International Bagel & Coffee Inc.

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

Mahmoud Ismail

c/o Mahmoud Ismail 4947 31 Street 66-25 Garfield Avenue

Long Island City, NY 11101 - Long Island City, NY 11104

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Queens Location of principal assets, if different from principal
“County place of business

"Number, Street, City, State & ZIP Code |

5. Debtor's website (URL)

6. Type of debtor IH Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
O Partnership (excluding LLP)
O Other. Specify:

Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Debtor New York International Bagel & Coffee Inc. Case number (if known)
Name ~ — — —
7. Describe debtor's business A. Check one:

CO Health Care Business (as defined in 11 U.S.C. § 101(27A))
0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
0 Railroad (as defined in 11 U.S.C. § 101(44))

O Stockbroker (as defined in 11 U.S.C. § 101(53A))

DD Commodity Broker (as defined in 11 U.S.C. § 101(6))

0 Clearing Bank (as defined in 11 U.S.C. § 781(3))

ME None of the above

B. Check all that apply

0 Tax-exempt entity (as described in 26 U.S.C. §501)

C1 investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.qov/four-digit-national-association-naics-codes.

7223
8. Under which chapter of the Check one:
Bankruptcy Code is the a
debtor filing? Chapter 7
A debtor who is a “small DO Chapter 9
business debtor” must check :
the first cub-box. A debtor as O Chapter 11. Check all that apply:
defined in § 1182(1) who OD The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under nencontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, altach the most recent balance sheet, statement of
(whether or not the debtor is a operations, cash-flow statement, and federal income tax return or if any of these documents do not
“small business debtor”) must exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
cheelstne,sacond, sPsBOx. (The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11: U.S.C. § 11768(1)(B).
O Aplan is being filed with this petition.
(1) Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
(1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
0 Chapter 12
9. Were prior bankruptcy HINo
cases filed by or against oO ,
the debtor within the last 8 Yes.
years?
If more than 2 cases, attach a
separate list. District When Case number —
District When Case number

Official! Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-24-40294-nnl

Debtor

New York International Bagel & Coffee Inc.

Name

Doc 9-9 =—Fled Oo/O/iz4 = =0—Entered O0/O//24 2140709

Case number (if known)

10. Are any bankruptcy cases HINo
pending or being filed by a gO
business partner or an Yes.
affiliate of the debtor?
List all cases. If more than 1, .
attach a separate list Debtor ___ Relationship _
District ____ When Case number, if known
11, Why is the case filed in Check all that apply:
this district?
Hi Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.
Ol Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
12. Doesthedebtorownor [No
have possession of any : : . a :
real property or personal 1 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention?

Ea Statistical and administrative information

Why does the property need immediate attention? (Check all that apply.)
1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 It needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

0 Other
Where is the property?

Number, Street, City, State & ZIP Code

Is the property insured?
O1No

OlyYes. Insurance agency

Contact name
Phone

13. Debtor's estimation of
available funds

Check one:

0 Funds will be available for distribution to unsecured creditors.

I After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of

creditors

1 1,000-5,000

15. Estimated Assets

Bis 1 25,001-50,000

C1 50-99 1 5001-10,000 1 50,001-100,000

CI 100-199 0 10,001-25,000 D More than100,000

0 200-999

H $0 - $50,000 D1 $1,000,001 - $10 million C1 $500,000,004 - $1 billion

OJ $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
D More than $50 billion

D $10,000,001 - $50 million
O $50,000,001 - $100 million
01 $100,000,001 - $500 million

01 $50,001 - $100,000
1 $100,001 - $500,000
1 $500,001 - $1 million

16. Estimated liabilities

Official Form 201

D) $0 - $50,000 O $1,000,001 - $10 million D0 $500,000,001 - $4 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Case number (if known)

Debtor New York International Bagel & Coffee Inc. _
Name

DO $50,001 - $100,000 0 $10,000,001 - $50 million 1 $1,000,000,001 - $10 billion
HI $100,001 - $500,000 CD $50,000,001 - $100 million 1 $10,000,000,001 - $50 billion
C1 $500,001 - $1 million 1 $100,000,001 - $500 million 0] More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Debtor New York International Bagel & Coffee Inc.

Name

=a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

Case number (if known)

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon January 23, 2024 |
MM/DD/YYYY

X /si Mahmoud Ismail

Signature of authorized representative of debtor

Title Owner-President _

Mahmoud Ismail

Printed name

18, Signature of attorney

Official Form 201

X js/ Herbert Noel Steinberg

Signature of attorney for debtor

Herbert Noel Steinberg

Date January 23, 2024

MM /DD/YYYY

Printed name

Steinberg & Associates, Esqs.

Firm name

1129 Northern Blvd., Ste. 402
Manhasset, NY 11030 =
Number, Street, City, State & ZIP Code

Contact phone 7182632922 Email address

1736222 NY ee
Bar number and State

sa@lawsteinberg.com

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 5
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

0 Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 125

An individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

SS Declaration and signature

{am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule _ — ee — _
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration

OOOBGBEBBEASEA

| declare under penalty of perjury that the foregoing is true and correct.

Executedon January 23, 2024 X Isi Mahmoud Ismail
Signature of individual signing on behalf of debtor

Mahmoud Ismail
Printed name

Owner-President ee
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

ed

Official Form 206Sum

OO Check if this is an

amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
[GEGEEM Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property: 0.00
Copy line 88 from Schedule A/B..vwsssssssssessscsssseseessnesesnserinssseisernseesnssnnanantesnnersanunnernteraccananentnaeerneett $ 00
1b. Total personal property: 0.00
Copy line 914 from Schedule A/B...cssccscsssssssesusesssuseenneesantesntennesetaeeistnneenanssnnnesnenncctnneersnenanennntes $
1c. Total of all property: 0.00
Copy line 92 from Schedule A/B....sccsescccsssescssessensecssssenssaansenneesssseneneenettnat eee Ane Tee Neg AEC ETE EE TE $ .
(GER2E Summary of Liabilities a _
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) 0.00
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Du... etree $ —
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims: 0.00
Copy the total claims from Part 1 from line 5a of SCMECUIC E/F.ccsecscccsscccsssecsssssessscensceenecessseernersesnnsesensnseenaes $_ a
3b. Total amount of claims of nonpriority amount of unsecured claims: 301,000.00
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F........ccccscesesesccnneettenenseneessennes +$ - : a
4, Total liabilities oo... cece csssscscecsecescceeeeceeeseteccusrseseaneceeseseneeneensessnennensesesaseneneeenseaenesesayeeeeeegngeeegen escent eetet Prete eee te$
Lines 2 + 3a + 3b $ 301,000.00
bee
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc. — ee |

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

O Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

OINo. Go to Part 2.

Il Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. TD Bank Checking 8259 $0.00
4. Other cash equivalents (/dentify all)
5. Total of Part 1. $0.00 |

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Hi No. Go to Part 3.
O Yes Fill in the information below.

Accounts receivable
140. Does the debtor have any accounts receivable?

Il No. Go to Part 4.
01 Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

Hi No. Go to Part 5.
0 Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Debtor New York International Bagel & Coffee Inc. Case number (if known)
Name
pela mey Inventory, excluding agriculture assets

18, Does the debtor own any inventory (excluding agriculture assets)?

Hi No. Go to Part 6.
O Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Il No. Go to Part 7.
O Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

CINo. Go to Part 8.
I Yes Fill in the information below.
General description Net book value of Valuation method used Current value of
debtor's interest for current value debtor's interest
(Where available)

39. Office furniture

40. Office fixtures

Hot water boiler, water pipe system _ $0.00 $0.00
41. Office equipment, including all computer equipment and

communication systems equipment and software
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;

books, pictures, or other art objects; china and crystal, stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles

43. Total of Part 7. $0.00
Add lines 39 through 42. Copy the total to line 86,

44, Is a depreciation schedule available for any of the property listed in Part 7?
BNo
O Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
Bno
O Yes

Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Hi No. Go to Part 9.
O Yes Fill in the information below.

Real property
54, Does the debtor own or lease any real property?

Hi No. Go to Part 10.
0 Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Debtor _New York International Bagel & Coffee Inc. Case number (ifknown) _ -

Name

n=O Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

HI No. Go to Part 11.
D Yes Fill in the information below.

lca All other assets
70, Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

HE No. Go to Part 12.
O Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

Debtor New York International Bagel & Coffee Inc. Case number (if known) _

Name

EER seray

In Part 12 copy all of the totals from the earlier parts of the form

Type of property Current value of Current value of real
personal property property

80. Cash, cash equivalents, and financial assets. $0.00

Copy line 5, Part 1 :
81. Deposits and prepayments. Copy line 9, Part 2. os $0.00_
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. ee $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles. $0.00

Copy line 43, Part 7. a
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. _ $0.00
88. Real property. Copy line 56, Part Q.....cssesscsescsssecssssseecsssersecessneenessessanrencesseeceniessnesteanseness > _ $0.00.
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91, Total. Add lines 80 through 90 for each column | $0.00 |+9%b. | ___ $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 | $0.00

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc.

| United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

O Check if this is an
amended filing

12/15

Be as complete and accurate as possible.

14. Do any creditors have claims secured by debtor's property?

Hl No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

0 Yes. Fill in all of the information below.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 4
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc.

| United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK |

Case number (if known)

amended filing

| 1 Check if this is an

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1and
2 in the boxes on the left. If more space Is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

[GERREEE List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
W No. Go to Part 2.
D1 Yes. Go to fine 2.
List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2.

Amount of claim

{3.4 | Nonprlority creditor's name and mailing address As of the petition fillng date, the claim Is: Check ail that apply. _ _ $301,000.00
47-41 31st LLC D1 Contingent
clo Peter D. Strouzas Esq O unliquidated

49-12 31st Place
Long Island City, NY 11104

Date(s) debt was incurred 2020-2021
Last 4 digits of account number _ Is the claim subject to offset? Bno OYes

a Disputed
Basis for the claim: Alleged rental arrears, water and taxes

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and malling address On which line In Part1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured clalms.
Total of clalm amounts

5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b, + $ ~ 301 ,000.00
5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c. Se, So _ 301 000.00.
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 1

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Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

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Debtorname New York International Bagel & Coffee Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (ifknown)
OO Check if this is an

amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

4. Does the debtor have any executory contracts or unexpired leases?
No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.4 State what the contract or
tease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
Case 1-24-40294-nni Doc yv-9 Filed Qo/O//24 Entered Us/O 7/24 2140709

TMU ealeM UCLA ele dL Come LS1 aL Cth ULL ezs bad

Debtorname New York International Bagel & Coffee Inc. _ |

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (ifknown)

== | OO Check if this is an
| amended filing

Official Form 206H
Schedule H: Your Codebtors 1215

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

41. Do you have any codebtors?

I No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
O Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt Is owed and each schedule

on which the creditor is listed. If the codebtor is liable on a debt to mora than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2140 | _ / _ _ _ ee OD
Street OO E/F
a OG
City State Zip Code
22000 _ _ ee _ _ a _ _ Oop
Street DO E/F
ne OG
City State Zip Code
a OD
Street OO E/F
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Ciy +~~~—~*State = Zip Code
2400 = a OD
Street 0 E/F
ee _ _ a OG
City State Zip Code

Official Form 206H Schedule H: Your Codebtors Page 1 of 1
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PSUIMTamaleMinieltiirico mem Ce (UUh an Carbon

Debtor name New York International Bagel & Coffee Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (ifknown)

O Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

Income

1. Gross revenue from business

0 None.

Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue

which may be a calendar year Check all that apply (before deductions and
exclusions)

From the beginning of the fiscal year to filing date: C] Operating a business $0.00

From 1/04/2024 to Filing Date Debtor ceased all

business operations
M Other in April 2021

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

Hi None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

i None.

Creditor's Name and Address Dates Total amount of value = Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives: affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

Hf None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
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Debtor New York International Bagel & Coffee Inc. Case number (if known)

5, Repossessions, foreclosures, and returns

Legal Actions or Assignments __ | —

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

Hf None

Creditor's name and address Describe of the Property Date Value of property
Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account

of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
debt.

None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

0 None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. Debtor 47-41 31st LLC Lawsuit for rent Supreme Court Queens Hl Pending
725019-2020 due and owing County O on appeal

88-11 Sutphin Bivd. CI Concluded

Jamaica, NY 11435

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

receiver, custodian, or other court-appointed officer within 1 year before filing this case.

HI None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

fl None
Recipient's name and address Description of the gifts or contributions Dates given Value
tice Certain Losses —
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
BB None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost
If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets ~ Real and Personal Property).
Certain Payments or Transfers _
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
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Debtor New York International Bagel & Coffee Inc. Case number (if known)

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy

relief, or filing a bankruptcy case.

0 None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Steinberg & Associates,
Esqs.
1129 Northern Blvd., Ste. 402
‘Manhasset,NY 110300 Attorney Fees $4,835.00

Email or website address
_sa@lawsteinberg.com

Who made the payment, if not debtor?
Debtor's owner -President -
Mahmoud Ismail

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

Bi None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Ml None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations _ ==

14, Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

I Does not apply

Address Dates of occupancy
From-To

[Gelcnll Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

No, Go to Part 9.
O Yes. Fill in the information below.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
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Debtor New York International Bagel & Coffee Inc. - Case number (if known) _
Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of

patients in debtor’s care

[EEE Personally Identifiable Information

46. Does the debtor collect and retain personally identifiable information of customers?

Hi No.
Ol séYes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

Ml No. Go to Part 10.
DD Yes. Does the debtor serve as plan administrator?

[EPS TE Certain Financial Accounts, Safe Deposit Boxes, and Storage Units _

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,

moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,

cooperatives, associations, and other financial institutions.

IB None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
Hi None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in

which the debtor does business.

Ml None
Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
EE Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

@ None

[GERSEEE Details About Environment Information _

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the

medium affected (air, land, water, or any other medium).
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Debtor New York International Bagel & Coffee Inc. / Case number (if known)

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HI No.

0 Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

MH No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

H No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental flaw, if known Date of notice
address

FEE Details About the Debtor's Business or Connections to Any Business| _

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Hi None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

0 None
Name and address Date of service
From-To
26a.1.. Ashraf Hanno 2015-2023

24-16 Steinway Street
Astoria, NY 11103

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

H None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

0 None

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
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Debtor New York International Bagel & Coffee Inc. - Case number (if known)

Name and address If any books of account and records are
unavailable, explain why

26c.1. Ashraf Hanno

24-16 Steinway Street
Astoria, NY 11103 _ _

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

I None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

M@ No

O Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Mahmoud Ismail 66-25 Garfield Avenue Owner-President 100

Long Island City, NY 11101

29, Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

BH No
O Yes. Identify below.

30, Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

HM No
O Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

HM No
O Yes. identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32, Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

HM No
DO sYes. Identify below.
Name of the pension fund Employer Identification number of the pension
fund

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
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Debtor New York International Bagel & Coffee Inc. _ Case number (if known)

Signature and Declaration - _ =

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

1 have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon January 23, 2024

isi Mahmoud Ismail Mahmoud Ismail
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Owner-President

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
No
OD Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7
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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Eastern District of New York

Inre _ New York International Bagel & Coffee Inc. Case No.
Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

ij. Pursuant to 1] U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that 1 am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept __ - 4,500.00
Prior to the filing of this statement I have received rece nee $ 4,500.00
BalanceDue _0.00_

2. $335.00 _ of the filing fee has been paid.
3. The source of the compensation paid to me was:

O Debtor MH Other (specify): Debtor owner, Mahmoud Ismail

4. The source of compensation to be paid to me is:

O Debtor Hi Other (specify): NIA
5. ll [have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

O [have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.  Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required,

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof,

. [Other provisions as needed]

ae oe

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtor in adversary proceedings and any appeals.

| "CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

January 23,2024 _ _— /si Herbert Noel Steinberg __
Date Herbert Noel Steinberg
Signature of Attorney
Steinberg & Associates, Esqs.
1129 Northern Blvd., Ste. 402
Manhasset, NY 11030
7182632922 Fax: 7185754070
sa@lawsteinberg.com
Name of law firm

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United States Bankruptcy Court
Eastern District of New York

Inre New York International Bagel & Coffee Inc. _ Case No.

~ Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.

Date: January 23, 2024 _ is} Mahmoud Ismail __ ee
Mahmoud Ismail/Owner-President
Signer/Title

Date: January 23, 2024 Isi Herbert Noel Steinberg
Signature of Attorney

Herbert Noel Steinberg
Steinberg & Associates, Esqs.
1129 Northern Bivd., Ste. 402
Manhasset, NY 11030
7182632922 Fax: 7185754070

USBC-44 Rev. 9/17/98
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United States Bankruptcy Court
Eastern District of New York

Inre New York International Bagel & Coffee Inc. Case No.

~ Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _New York International Bagel & Coffee Inc. _ in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)

10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:

@ None [Check if applicable]

January 23,2024 Is/ Herbert Noel Steinberg
Date Herbert Noel Steinberg

Signature of Attorney or Litigant

Counsel for New York International Bagel & Coffee Inc.
Steinberg & Associates, Esqs.

4129 Northern Blvd., Ste. 402

Manhasset, NY 11030

7182632922 Fax:7185754070

sa@lawsteinberg.com

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): 7 New York International Bagel & Coffee Inc. CASE NO.:.

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (1) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vil)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541 (a).]

™@ NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

CO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1, CASE NO:: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDING (Y/N): [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): = ——

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): [if closed] Date of closing:

CURRENT STATUS OF RELATED CASE: ___ — ee
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): {If closed] Date of closing:

(OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

1 am admitted to practice in the Eastern District of New York (Y/N): __Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.

/s/ Herbert Noel Steinberg
Herbert Noel Steinberg
Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner
Steinberg & Associates, Esqs.

1129 Northern Bivd., Ste. 402

Manhasset, NY 11030

7182632922 Fax:7185754070 Signature of Pro Se Joint Debtor/Petitioner

Mailing Address of Debtor/Petitioner

‘City, State, Zip Code

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal! of your petition may otherwise
result.

USBC-17 Rev.8/1 1/2009
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47-41 31st LLC

c/o Peter D. Strouzas Esq
49-12 31st Place

Long Island City, NY 11101
